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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


CHRISTINA PRUKALA, individually            :
and on behalf of all others similarly      :
situated,                                  :   Case No. 3:14-cv-00154-ARC
                                           :
                    Plaintiff,             :   (United States District Judge
                                           :   A. Richard Caputo)
                                           :
             v.                            :   Electronically Filed
                                           :
DSW INC.; JOHN DOES 1-10; AND              :
CORPORATIONS X, Y, Z,                      :
                                           :
                    Defendants.            :

                  MEMORANDUM OF LAW IN SUPPORT OF
                    DSW INC.’S MOTION TO DISMISS

      Plaintiff Christina Prukala (“Plaintiff”) purports to allege six causes of

action arising out of her alleged receipt of unsolicited electronic mail messages

(“emails”) concerning DSW Inc. (“DSW”). At the core of DSW is DSW Designer

Shoe Warehouse, a leading footwear retailer with over 350 stores nationwide.

Distilled to its essence, Plaintiff’s Complaint alleges that the email messages that

she allegedly received contained a “misleading” subject header and that she made

at least one attempt to opt-out of future emails, but that this request was not

honored. Curiously, Plaintiff does not attach the allegedly offending email(s) to

her Complaint, describe the actual content of any email(s), including any allegedly
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misleading subject header, identify the date on which she received any such

email(s), or provide the date on which she allegedly attempted to “opt-out” of

receiving future emails about DSW. Ultimately, Plaintiff’s Complaint fails to

allege even the most basic of facts necessary to support any claim against DSW.

                         I.    PROCEDURAL HISTORY

      On or about January 9, 2014, Plaintiff served DSW with a copy of the

Complaint in this action that was filed in the Court of Common Pleas in

Lackawanna County, Pennsylvania. On January 29, 2014, DSW filed a Notice of

Removal, removing the action to this Court. See ECF No. 1.

                   II.        PLAINTIFF’S ALLEGATIONS1

      Plaintiff alleges that she received a series of email messages that she

accessed on her cellular telephone, allegedly soliciting, either directly or indirectly,

the purchase of “services” from DSW. Compl. ¶ 10. Plaintiff never alleges when

or on what dates she received any emails from or regarding DSW. See generally

Compl. Plaintiff contends that she never gave permission, implied or express, to

DSW, to contact her mobile telephone via electronic mail messages or in any other

way. Compl. ¶ 12. Plaintiff further alleges that she made at least one attempt to

request that she no longer receive electronic mail messages from DSW, but that the


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      DSW accepts any well-pled factual allegations in the Complaint as true only
for purposes of its Motion to Dismiss.



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request was ignored. Compl. ¶ 17. Plaintiff has failed to: (1) attach any of these

alleged emails to her Complaint; (2) describe the actual content of any of these

alleged emails; (3) indicate exactly how many emails she allegedly received from

DSW; or (4) identify any dates on which she allegedly received any emails from

DSW. See generally Compl.

      Plaintiff further alleges that the emails contained misleading subject headers,

but again, Plaintiff fails to attach any such emails or even describe the alleged

language in the subject headers. See Compl. ¶ 14. Finally, Plaintiff asserts that the

emails from DSW caused her to incur a charge from her cellular telephone carrier,

but she never itemizes this supposed charge. Compl. ¶ 15-16. Plaintiff never

alleges that DSW ever called her mobile phone. See generally Compl.

                  III.      STATEMENT OF QUESTIONS
      1.     Whether Plaintiff has satisfied the pleading requirements to state an

Unfair Trade Practices and Consumer Protection Law (“UTPCPL”) claim.

      2.     Whether Plaintiff’s UTPCPL claim is preempted, in whole or in part,

by the CAN-SPAM Act.

      3.     Whether Plaintiff has alleged facts sufficient to state a Telephone

Consumer Protection Act (“TCPA”) claim where Plaintiff has only alleged that she

received and accessed email messages.




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      4.     Whether Plaintiff has satisfied the Rule 12(b)(6) pleading

requirements to state a claim for “invasion of privacy” where Plaintiff has failed to

allege facts to support a claim based upon an intrusion upon seclusion theory.

      5.     Whether Plaintiff has satisfied the Rule 12(b)(6) pleading

requirements to state a claim for intentional infliction of emotional distress where

Plaintiff only alleges that she received commercial email messages.

      6.     Whether Plaintiff can bring a claim for civil harassment when no such

cause of action exists under Pennsylvania law.

                     IV.       STANDARD OF REVIEW
      A complaint must be dismissed pursuant to Federal Rule of Civil

Procedure 12(b)(6) for failure to state a claim if it does not plead enough facts to

support a claim for relief that is “plausible” (as opposed to just “conceivable”).

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). The pleading standard

“demands more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading that offers

‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of

action will not do.’ Nor does a complaint suffice if it tenders ‘naked assertion[s]’

devoid of ‘further factual enhancement.’” Id. (quoting Twombly, 550 U.S. at 557)

(internal citations omitted). A complaint is subject to dismissal unless the




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complaint contains factual allegations which are “enough to raise a right to relief

above the speculative level[.]” Twombly, 550 U.S. at 545.

       Further, Rule 9(b) of the Federal Rules of Civil Procedure requires a plaintiff

“alleging fraud or mistake” to “state with particularity the circumstances

constituting fraud or mistake.” Fed. R. Civ. P. 9(b). Plaintiff must “inject

precision and some measure of substantiation into the allegations” in order to

satisfy the particularity requirement of Rule 9(b). Sun Co., Inc. (R & M) v. Badger

Design & Constructors, Inc., 939 F. Supp. 365, 369 (E.D. Pa. 1996). Where a

plaintiff fails to set forth such facts, she has failed to state a claim. See, e.g., id.

V.     PLAINTIFF HAS FAILED TO ALLEGE FACTS TO SUPPORT ANY
     VIABLE CLAIMS AND HER COMPLAINT SHOULD BE DISMISSED.

A.     Plaintiff’s UTPCPL Claims are Woefully Deficient.
       Plaintiff purports to bring two claims against DSW based upon

Pennsylvania’s UTPCPL. Although the Complaint purports to allege two separate

causes of action, the allegations set forth in Counts I and II appear to be identical.

In any event, neither Count I nor Count II state a viable UTPCPL claim.

       1.     The Court Should Dismiss Plaintiff’s UTPCPL Claims Because
              Plaintiff Has Failed to Adequately Plead Any UTPCPL Violation.
       Plaintiff fails to identify any particular section of the UTPCPL that DSW

allegedly violated. See generally Compl. Rather, Plaintiff summarily alleges that

“Defendant(s) behavior is specifically defined as ‘Unfair methods of competition’

and ‘unfair or deceptive acts or practices’ at one or more instances of 73 P.S.

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§§ 201-2(4).” Compl. ¶¶ 38, 44. Section 201-2(4) of the UTPCPL articulates

twenty-one specific activities that may constitute “unfair methods of competition”

and “unfair or deceptive acts or practices.” Plaintiff has completely failed to

identify which, if any, of the twenty-one categories of conduct allegedly apply to

DSW. Such bare-bones pleading does not satisfy the pleading requirements set

forth by the Supreme Court in Twombly and Iqbal, and does not state any claim

based upon any of the twenty-one categories listed in the UTPCPL.

      Further, based upon the vagueness of Plaintiff’s pleading, it is unclear

whether she is attempting to allege a UTPCPL claim sounding in fraud. If Plaintiff

is bringing a UTPCPL claim based upon fraudulent conduct, then her pleading

must satisfy Rule 9(b)’s requirements. Taggart v. Wells Fargo Home Mortgage,

Inc., No. 10-cv-843, 2013 WL 3009730, *6-*7 (E.D. Pa. June 18, 2013) (holding

that, where plaintiff failed to identify which provision of the UTPCPL applied,

Rule 9(b) requirements necessitated dismissal because Plaintiff “failed to allege

what misrepresentations were allegedly made, did not sufficiently allege intent,

and did not allege that Plaintiff justifiably relied upon any specific

misrepresentations”) (attached as Exhibit 1). Therefore, Plaintiff must “inject

precision and some measure of substantiation into the allegations” in order to

satisfy the particularity requirement of Rule 9(b). Sun Co., Inc. (R & M), 939 F.

Supp. at 369. Because she has failed to do so, her UTPCPL claim should be



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dismissed. See, e.g., id. (dismissing claim because “Plaintiff failed to inject

precision and some measure of substantiation into the allegations”).

      Plaintiff’s UTPCPL claim appears to be solely predicated upon a generalized

attack against the “misleading character of the subject header(s) of each email.”

Compl. ¶ 17. Plaintiff fails to attach any such emails to her Complaint, fails to

provide the date for when each alleged email was received by her, fails to allege

how many emails she received, and most importantly, fails to quote or even

describe the language in the subject header of each alleged email. Plaintiff’s

failure to allege even the most basic details about the email messages is insufficient

to plead a UTPCPL claim under the pleading standards set forth in Twombly and

Iqbal, and woefully insufficient to satisfy the particularity required by Rule 9(b), to

the extent that Plaintiff’s UTPCPL claims sound in fraud.

      2.     To the Extent That Plaintiff’s UTPCPL Claims Are Premised
             Upon Pennsylvania’s Unsolicited Telecommunication
             Advertisement Act, Plaintiff’s UTPCPL Claims are Preempted By
             the CAN-SPAM Act.

      In her Complaint, Plaintiff periodically references Pennsylvania’s

Unsolicited Telecommunication Advertisement Act (the “UTAA”), see Compl.

¶¶ 13, 14, 40, 46, but never actually alleges a claim based upon the UTAA.

Rather, Plaintiff alleges, in the context of her UTPCPL claim that “[t]he above-

described behavior is not only prohibited by 73 PS 2250.3(b) [of the UTAA], but

the remedies sought in this count are not prohibited therein.” Compl. ¶¶ 40, 46.


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      The federal CAN-SPAM Act “supersedes any statute, regulation or rule of a

State . . . that expressly regulates the use of electronic mail to send commercial

messages.” 15 U.S.C. § 7707(b)(1); see also OmegaWorld Travel, Inc. v.

Mummagraphics, Inc., 469 F.3d 348, 352 n.1 (4th Cir. 2006)( holding that CAN-

SPAM preempts a cause of action under a similar Oklahoma commercial email

statute and precluded any related claims based upon Oklahoma’s Consumer

Protection Act). The UTAA specifically seeks to regulate the use of electronic

mail messages and prohibits, inter alia, a person to “initiate a transmission or

conspire with another person to initiate a transmission or assist a transmission of an

unsolicited commercial electronic mail message or fax from a computer or fax

machine located in this Commonwealth or to an electronic mail address” in a

number of contexts. 73 P.S. § 2250.3.

      Thus, to the extent that Plaintiff is attempting to bring UTPCPL claims

based upon an alleged violation of the UTAA, such claims are expressly

preempted. See 15 U.S.C. § 7707(b)(1); see also OmegaWorld Travel, Inc., 469

F.3d at 352 n.1 (“Since we find that Mummagraphics did not raise a cognizable

cause of action under Oklahoma’s commercial e-mail laws due to federal

preemption, the alleged violations cannot give rise to further claims under the

Oklahoma Consumer Protection Act.”).




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B.    The Court Should Dismiss Count III of Plaintiff’s Complaint Because
      Electronic Mail Messages Do Not Fall Within the Prohibitions of the
      TCPA As a Matter of Law.
      In order for Plaintiff to state a claim under the TCPA, 47 U.S.C.

§ 227(b)(A)(iii), Plaintiff must allege that she received a call from an automatic

dialing system. Because an electronic mail message does not qualify as a “call”

under the TCPA, Count III of her Complaint should be dismissed.

      An email is not a “call” for purposes of the TCPA, and traditional email

“spam” communications do not fall within its prohibitions. Aronson v. Bright-

Teeth Now, LLC., 824 A.2d 320, 323 (Pa. Super. Ct. 2003) (holding that the TCPA

does not apply to unsolicited commercial email communications). In Aronson, the

court examined whether an email spam message could support a TCPA claim and

held that “the provisions of § 227 of the TCPA do not apply to e-mail

communications.” 824 A.2d at 323.

      Nowhere in Plaintiff’s Complaint does she ever allege that DSW actually

called her mobile phone. Plaintiff only alleges that DSW sent her email messages.

See generally Compl. In fact, Plaintiff alleges that she accessed the alleged emails

from an “email account[,]” not that DSW ever called her mobile phone. Compl.

¶ 16. Therefore, Plaintiff has failed to state a claim under the TCPA, and Count III

of Plaintiff’s Complaint should be dismissed.




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C.    Plaintiff’s Claim for “Invasion of Privacy” Fails Because Plaintiff Has
      Failed to Allege Any Facts to Support Any Invasion of Privacy Tort.

      In Count IV of her Complaint, Plaintiff fails to allege facts sufficient to

support any of the distinct privacy torts recognized by Pennsylvania law. Plaintiff

makes only general allegations of some supposed invasion of privacy, but

“invasion of privacy” is “actually comprised of four analytically distinct torts:

1) intrusion upon seclusion, 2) appropriation of name or likeness, 3) publicity

given to private life, and 4) publicity placing a person in false light.” Marks v. Bell

Tel. Co. of Pa., 331 A.2d 424, 430 (Pa. 1975). Plaintiff’s cursory pleading leaves

DSW to guess as to type of privacy claim that she seeks to pursue. It appears that

Plaintiff is attempting to bring a claim for intrusion upon seclusion. Compl. ¶ 54.

      To state a claim for intrusion upon seclusion, a plaintiff must allege facts

sufficient to show: “(1) physical intrusion into a place where the plaintiff has

secluded himself or herself; (2) use of the defendant's senses to oversee or overhear

the plaintiffs private affairs; or (3) some other form of investigation or examination

into plaintiffs private concerns.” Yates v. Commercial Index Bureau, Inc., 861 F.

Supp. 2d 546, 552 (E.D. Pa. 2012). Section 652B of the RESTATEMENT (SECOND)

OF TORTS   provides: “One who intentionally intrudes, physically or otherwise, upon

the solitude or seclusion of another or his private affairs or concerns, is subject to

liability to the other for invasion of his privacy, if the intrusion would be highly

offensive to a reasonable person.” Yates, 861 F. Supp. at 551 (emphasis added);


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see Harris by Harris v. Easton Pub. Co., 483 A.2d 1377, 1384 (Pa. Super. Ct.

1984). Plaintiff has failed to allege any “highly offensive” conduct by DSW and

has not pled sufficient facts to support an intrusion upon seclusion claim.

       A defendant cannot be liable for intrusion upon seclusion unless the invasion

is “substantial.” Borton v. Unisys Corp., No. 90-4793, 1991 WL 915, *8 (E.D. Pa.

Jan. 4, 1991) (attached as Exhibit 2). Further, “to constitute a tortious invasion of

privacy an act must cause mental suffering, shame or humiliation to a person of

ordinary sensibilities.” DeAngelo v. Fortney, 515 A.2d 594, 595 (Pa. Super. Ct.

1986) (internal quotation marks omitted). In fact, sending email messages alone is

not an invasion of privacy because “business solicitations are generally inoffensive

inquiries accepted as part of daily living.” Id. at 595. Courts have held that, “two

inquiries or solicitations . . . is clearly insufficient to give rise to an actionable

intrusion upon . . . seclusion.” Id.; see also Sofka v. Thal, 662 S.W.2d 502 (Mo.

1983) (holding that six or eight phone calls over the course of several months is not

actionable); Bradshaw v. Michigan Nat’l Bank, 197 N.W.2d 531, 532 (1972)

(holding that unsolicited mailings are not actionable).


       Similarly, even in the context of door to door solicitations or direct

telephone call solicitations, “there is no liability for knocking at the plaintiff’s

door, or for calling him to the telephone . . . it is only when the telephone calls are

repeated with such persistence and frequency to amount to a course of hounding


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the plaintiff, that becomes a substantial burden to his existence, that his privacy is

invaded.” RESTATEMENT (SECOND) OF TORTS § 652B, comment d; see Chicarella

v. Passant, 494 A.2d 1109, 1114 (Pa. Super Ct. 1985); Stuart v. AR Res., Inc., 2011

WL 904167, at *6 (E.D. Pa. Mar. 16, 2011) (attached as Exhibit 3).

      Plaintiff’s Complaint alleges only that she received a series of emails that

she accessed on her cellular telephone. Compl. ¶ 10. No other allegations are

present that address the number and frequency of the alleged emails. See generally

Compl. Simply put, Plaintiff fails to plead any facts sufficient to describe conduct

that could rise to the level of “substantial” or “highly offensive” and Count IV

should be dismissed. See Borton, 1991 WL 915, at *8.

D.    Plaintiff Has Failed to Allege Any Facts Sufficient to Plead A Viable
      Claim for Intentional Infliction of Emotional Distress.
      To state a claim for intentional infliction of emotional distress, a plaintiff

must allege facts sufficient to show “(1) the conduct must be extreme and

outrageous; (2) the conduct must be intentional or reckless; (3) the conduct must

cause emotional distress; and (4) the distress must be severe.” Brieck v. Harbison-

Walker Refractories, 624 F. Supp. 363, 366 (E.D. Pa. 1985); RESTATEMENT

(SECOND) OF TORTS, § 46(1) (1965). Pennsylvania court have applied Section 46

of the Restatement (Second) of Torts, which provides: “One who by extreme and

outrageous conduct intentionally or recklessly causes severe emotional distress to

another is subject to liability for such emotional distress, and if bodily harm to the


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other results from it, for such bodily harm.” See Stouch v. Brothers of the Order of

Hermits of St. Augustine, 836 F. Supp. 1134, 1144 (E.D. Pa. 1993) (“The

Pennsylvania Supreme Court has continually applied the Restatement definition to

claims for intentional infliction of emotional distress.”). Because Plaintiff has not

pled sufficient facts to support any of these elements, her claim should be

dismissed with prejudice.

      Courts in Pennsylvania are wary to categorize “conduct ‘outrageous’ so as to

permit recovery for intentional infliction of emotional distress and have allowed

recovery ‘only in limited circumstances where the conduct has been clearly

outrageous.’” Cox v. Keystone Carbon Co., 861 F.2d 390, 395 (3d Cir. 1988)

(quoting Krushinski v. Roadway, 627 F. Supp. 934, 938 (M.D. Pa. 1985)). Plaintiff

fails to allege conduct “so outrageous in character, and so extreme in degree, as to

go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized society.” RESTATEMENT (SECOND) TORTS § 46

cmt. d; see also Landmesser v. United Air Lines, Inc., 102 F. Supp. 2d 273, 281

(E.D. Pa. 2000) (quoting RESTATEMENT (SECOND) OF TORTS, § 46 cmt. d:

“Generally, the case is one in which the recitation of the facts to an average

member of the community would arouse his resentment against the actor and lead

him to exclaim, ‘Outrageous!’”).




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      At best, Plaintiff has alleged that DSW sent Plaintiff a series of emails that

Plaintiff chose to access on her mobile phone. See Compl. ¶¶ 10, 15. Nothing

about the receipt of an email message is outrageous or uncommon. In the

employment context, courts have even been reluctant to find that something as

impactful as the termination of employment is “outrageous” because “it is a

common event.” Cox, 861 F.2d at 395. Similarly, receiving emails soliciting,

either directly or indirectly, the purchase of services, is a common event. See

DeAngelo v. Fortney, 515 A.2d 594, 595 (Pa. Super. Ct. 1986) (“Business

solicitations are generally inoffensive inquiries accepted as part of daily living.”).

      Plaintiff’s claim should also be dismissed for failure to allege physical injury

or harm. “A complaint of intentional infliction of emotional distress must allege

physical injury, harm, or illness caused by the defendant's conduct.” Zugarek v.

Southern Tioga School Dist., 214 F. Supp. 2d 468, 481 (M.D. Pa. 2002) (citing

Pennsylvania cases); see also Robinson v. May Dep't Stores Co., 246 F. Supp. 2d

440, 444 (E.D. Pa. 2003) (granting summary judgment where plaintiff failed to

establish physical injury or harm). Severe emotional distress, under Pennsylvania

law, requires a “manifestation of physical impairment resulting from the distress.”

Fulton v. United States, 198 F. App’x 210, 215 (3d. Cir. 2006).

      Plaintiff fails to allege any physical injury, harm or illness, and she

summarily asserts that DSW’s conduct “caused severe emotional distress[,]” but



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never explains how that alleged distress ever manifested itself. Compl. ¶ 60. This

bald, conclusory allegation is insufficient to plead a claim of intentional infliction

of emotional distress and Count V should be dismissed with prejudice. See

Zugarek, 214 F. Supp. 2d at 482 (dismissing claim because “bald allegation that

plaintiffs have suffered emotional and physical harm” was insufficient where

“complaint fail[ed] to allege with specificity any physical injury, illness, or harm”).

E.    Plaintiff’s Claim for Harassment Is Not Cognizable As A Matter Of
      Law In Pennsylvania And Should Be Dismissed.
      Count VI of Plaintiff’s Complaint purports to assert a claim for civil

harassment; however, Pennsylvania has declined to create a civil cause of action

for harassment. DeAngelo, 515 A.2d at 596; Waye v. First Citizen’s Nat. Bank,

846 F. Supp. 310, 319 (M.D. Pa. 1994). Research has revealed no authority in

Pennsylvania to support a civil harassment claim.

      Accordingly, Count VI of the Complaint should be dismissed with prejudice.

                             V.       CONCLUSION
      For the foregoing reasons, DSW respectfully requests that this Court grant

its Motion to Dismiss and dismiss Plaintiff’s Complaint with prejudice.




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Date: February 5, 2014             Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 5, 2014, I electronically filed the foregoing

Memorandum in Support of Motion to Dismiss Plaintiff’s Complaint with the

Clerk of Court for the U.S. District Court, Middle District of Pennsylvania, using

the electronic case filing system of the court. The electronic case filing system will

send notification of such filing to all counsel of record. Counsel may access such

document using the Court’s system.

Date: February 5, 2014



                                       /s/ Roy W. Arnold
                                       Counsel for Defendant
